   8:23-cv-00556-BCB-JMD Doc # 15 Filed: 01/29/24 Page 1 of 3 - Page ID # 38




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEBRASKA
                                    OMAHA DIVISION

Crystal Schleicher,                                    )
                                                       )
       Plaintiff,                                      )
                                                       )
       v.                                              )
                                                       )
Life Insurance Company of North America,               )      Case No.: 8:23-cv-00556
                                                       )
       and                                             )
                                                       )
Laboratory Corporation of America                      )
Holdings Group Benefits Plan                           )
                                                       )
       Defendants.                                     )

 JOINT STIPULATION DISMISSING DEFENDANT LABORATORY CORPORATION
           OF AMERICA HOLDINGS GROUP BENEFIT PLAN ONLY


       Plaintiff, Crystal Schleicher (“Plaintiff”), and Defendants, Life Insurance Company of

North America (“LINA”) and Laboratory Corporation of America Holdings Group Benefits Plan

(the “Plan”) (collectively, the “Parties”), through their respective counsel, hereby stipulate to the

following:

       1.      The Parties acknowledge that the Plan is not a necessary party to this action

   because the benefits at issue are fully insured by LINA, and LINA will be responsible for

   payment of any benefits awarded for plaintiff’s claim under 29 U.S.C. §1132(a)(1)(B), as

   well as interest and attorney’s fees, if any.

       2.      LINA will not defend against Plaintiff’s claim and/or cause of action under 29

   U.S.C. §1132(a)(1)(B) including any claim for attorney’s fees, by asserting that the Plan is at

   fault or is a necessary party to this action.
   8:23-cv-00556-BCB-JMD Doc # 15 Filed: 01/29/24 Page 2 of 3 - Page ID # 39




         3.     The Parties agree that all claims against the Plan should be dismissed without

   prejudice and without an award of fees or costs to any party.

         4.     Defendant LINA remains a party to this action.

         Wherefore, the Parties stipulate that Defendant Laboratory Corporation of America

Holdings Group Benefits Plan only should be dismissed from this lawsuit without prejudice and

without an award of fees or costs to any party, and request that the Plan be removed from the

caption of this matter.



Dated:

LAW OFFICE OF TALIA RAVIS, PA                                ST. LOUIS HINSHAW &
                                                             CULBERTSON LLP

s/Talia Ravis                                                s/James M. Brodzik
Talia Ravis                                                  James M. Brodzik
MO Bar No. 58366                                             MO Bar No. 66700
Law Office of Talia Ravis, PA                                St. Louis Hinshaw & Culbertson LLP
9229 Ward Parkway, Suite 370                                 701 Market Street, Suite 260
Kansas City, Missouri 64114                                  St. Louis, MO 63101
816-333-8955 (tel)                                           (314) 241-2600 (tel)
800-694-3016 (fax)                                           (314) 241-7428 (fax)
talia@erisakc.com                                            jbrodzik@hinshawlaw.com

ATTORNEY FOR PLAINTIFF,                                      s/ Matthew D. Quandt
CRYSTAL SCHLEICHER                                           Matthew D. Quandt
                                                             Bar No. 26731
                                                             ERICKSON | SEDERSTROM, P.C.
                                                             10330 Regency Parkway Drive
                                                             Omaha, NE 68114
                                                             (402) 397-2200
                                                             (402) 390-7137 Fax
                                                             quandt@eslaw.com

                                                             ATTORNEYS FOR DEFENDANT,
                                                             LIFE INSURANCE COMPANY OF
                                                             NORTH AMERICA




                                                 2
   8:23-cv-00556-BCB-JMD Doc # 15 Filed: 01/29/24 Page 3 of 3 - Page ID # 40




                                 CERTIFICATE OF SERVICE

I certify that on January 29, 2024, a true and correct copy of the foregoing was electronically
filed with the Court using the CM/ECF system with service to be accomplished by it
electronically on the following:

James M. Brodzik
St. Louis Hinshaw & Culbertson LLP
701 Market Street, Suite 260,
St. Louis, MO 63101
jbrodzik@hinshawlaw.com

Matthew D. Quandt, 26731
ERICKSON | SEDERSTROM, P.C.
10330 Regency Parkway Drive
Omaha, NE 68114
quandt@eslaw.com


                                                     /s/Talia Ravis
                                                     Attorney for Plaintiff, Crystal Schleicher




                                                 3
